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       9
      10                     U N ITED STAT ES D ISTR IC T C O U RT
      11                            D ISTR ICT O F N EVA DA
      12                                     -00 0-
      13 UNITED STATES OFAMERICA,                           )
      14                                                    )
                                  plaintiff,                )    2:12-crxflJ,
                                                                            .'
                                                                             >
      15                                                    )
                        vs.                                 )
      16                                                    )    GOVERNMENT'S MOTION TO
                                                            )    UNSEAL INDICTMENT AND
      17                                                    )    ORDER OF THE COURT
            ROSS HACK                                       )    GRANTING MOTION
      18 MELISSA HAUK                                       )
                             ,   AND                        )
            LELAND JONES                                    )
      19                                                    )
                                  Defendants.               )
      20
      21                The United States ofA m erica,by and through DanielG . Bogden,United
      22 States Attorney,Thom as E. Perez,AssistantAttorney General- CivilRights Division,
      23 Patricia A.Sum ner,TrialAttorney,and Kathleen Bliss, AssistantUnited StatesAttorney,
      24    and respectfully requests thatthis Courtenteran orderunsealing the Indictm entherein
      25 upon the arrestofdefendantLELAND JO NES and/orM ELISSA HACK . The United States
      26    subm its to the Courtthat,upon the arrestofei
                                                        therdefendant, there no Iongeris a need
            forthe Indictm entto be sealed.

                                                       2
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 1               The United Statesfurtherrequeststhat,uponthe arrestofeitherdefendant,
 2 the Courtgrantthe United States Ieave to file a noti
                                                      fication w ith the C lerk ofthe Court
 3 thatthe Indictm entshould be unsealed.
 4               DATED:thi
                         sa
                          v            eyofFebruary2012
 5                                          Respectfully subm itted,
 6                                          DAN L     .   BO GDEN
                                            Uni            Attorney
 7
 8
 9                                                 EEN BLISS
                                            AssistantUni
                                                       ted States Attorney
10
                                            TH O MAS E.PEREZ
11                                          AssistantAttorney General-CivilRights Division
12
13                                          PATRICIA A . SUM NER
                                            TrialAttorney
14
     O RDER
15
16 M OTIO N OF THE UNITED STATES IS HEREBY G RANTED
   AND IT IS SO ORDERED THAT:
17
   1. UPON THE ARREST O F EITHER DEFENDANT, THE INDICTM ENT HEREIN
18 SHALL BE UNSEALED AND
19 ZwTHE CLERK O F THE COURTU UPO N NOTIFICATION BY THE UNITED STATES OF
                                       .
   THE ARREST,SHALL UNSEAL THE INDICTM ENT HEREIN .
20
21                                w'
22
     UNITED STATES         ST    TE JUDG E
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24
     DATED: ?' >ê <
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